§;§)OB 1213 Case 1: 04- --Cr 10068- .]DT Document 12 Filed 05/20/05 Page 1 of 3 Page§$`)l$?

 

UNITED STATES DISTRICT COURT <S
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for ~. O<~§(‘> 967/o "`\ §
”" 449 4 -6’
WESTERN DISTRICT 01= TENNESSEE 1 1\3;’<~6:9 ¢.-L?
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Request for Modifying the Conditions or Term of Supervision '¢'”

with Consent of the Offender
(Probation Form 49, Waiver ofHearing is Attached)

Name of Offender: EDDIE I-I. ADKISSON 1 Case Number: 1:04CR10068-l-T
Name of Sentencing Judicial Officer: HONORABLE JAMES D. 'I`ODD

Date of Original Sentence: llf18/2004

Original Offense: BANK EMBEZZLEMENT; 18 U.S.C. 5 656

 

 

 

Original Sentence: l DAY IN CUSTODY FOLLOWED BY 3 YEARS ON SUB_E_.RVISED RELEASE
Type of Supervision: SUPERVISED RELEASE Date Supervision Cornmenced: ll/18/2004

 

 

PETI'I`IONING THE COURT

g To extend the term of supervision for years, for a total term of years.
E To modify the conditions of supervision as follows:

MODIFICATION OF SPECIAL CONDITIONS:

The defendant shall not hold employment involving the handling of money or serve as a financial officer for a
bank or other institutions, or serve in a fiduciary relationship on behalf of an employer or as part of a self-
employment during the period of supervision MODIFIED TO:

Tlle defendant shall not hold employment involving the handling of money or serve as a financial officer
for a bank or other institutions, or serve in a fiduciary relationship on behalf of an employer or as part
of a self-employment during the period of supervision, unless approved in advance by the U.S. Probation
Office.

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CAUSE

This offender is presently employed by Mr. Joe White, owner of Ace Hardware and Fred’s in Parsons, Tennessee.
Mr. White has expressed a desire to expand this offender’s job duties to include operating a cash register due to her
reliability. Mr. White has contacted our office and states that he understands the nature of this offender’s instant
offense, and reports that he has internal controls on his cashiers and equipment that would mitigate the risk of this
individual reoffending. The re-wording of the modified special condition would allow the probation officer to
investigate and pre-approve any employment involving the handling of money for this offender during her term of
supervised release. Theref`ore, our office is requesting the special condition of supervised release as stated on this
petition, and Mrs. Adkisson has indicated her willingness to have this condition modified by her execution of the
attached waiver form (PROB 49). Eddie H. Adkisson has paid the balance of her $3,000 fine and $100 special
assessment as ordered by Your Honor.

Res ectfully submitted,

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by j,,/ Z/¢M\
U.S.Probatio Officer
Date: May 18, 2005

 

 

TI-IE COURT ORDERS:
|:l No action.

\:| The extension of supervision as noted above.

The modification of conditions as noted above.

m Other

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Signature of judicial Officer

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/ Date

 
 

UNITED sTATE l ISTRIC COURT - WESTERN D"'TRCT 0 TNNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case l:04-CR-10068 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Victor Lee lvy

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Ste. 300

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Ricky L. Wood
WOOD LAW OFFICE
P.O. Box 371
Lexington, TN 38351

Honorable J ames Todd
US DISTRICT COURT

